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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 ROTHSCHILD CONNECTED DEVICES §
 INNOVATIONS LLC                     §
                                     §
       Plaintiff,                    §
                                     §
 vs.                                 §              Case No: 2:17-cv-202- RWS-RSP
                                     §
 EXXON MOBIL CORPORATION             §
.                                    §
       Defendant.                    §
 ___________________________________ §


                          ORDER OF DISMISSAL WITH PREJUDICE

         On this date, the Court considered Plaintiff Rothschild Connected Devices Innovations,

 LLC’s motion to dismiss with prejudice Defendant Exxon Mobil Corporation pursuant to Fed.

 R. Civ. P. 41(a). It is therefore

         ORDERED that Plaintiff’s claims against Defendant Exxon Mobil Corporation are

 dismissed with prejudice.
        SIGNED this 3rd day of January, 2012.
         SIGNED this 30th day of May, 2017.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE
